      Case 2:09-cr-00075-LRS    ECF No. 665    filed 07/19/11   PageID.3898 Page 1 of 2



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 5                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6
 7   UNITED STATES OF AMERICA,      )
                                    ) NO. CR-09-075-LRS-6
 8          Plaintiff,              )
                                    )
 9                                  ) ORDER GRANTING
       v.                           ) 28 U.S.C. § 2255 PETITION
10                                  )
     MAYRA GUTTIERREZ ZUNIGA, )
11                                  )
            Defendant.              )
12   ______________________________ )
13         BEFORE THE COURT is Defendant’s 28 U.S.C. § 2255 Petition For
14   Relief Under 28 U.S.C. § 2255 (ECF No. 657). A hearing was held on July 19,
15   2011. Defendant was present in person, along with her counsel, Jeffry K. Finer,
16   Esq.. Aine Ahmed, Esq., participated telephonically.
17         For the reasons stated by the court during the hearing, including the fact the
18   Government does not oppose granting the relief requested, the court finds
19   Defendant’s petition is timely and her sentence was imposed in violation of the
20   Constitution of the United States. Accordingly, Defendant’s Petition (ECF No.
21   657) is GRANTED. The Amended Judgment (ECF No. 529) filed June 25, 2010
22   is hereby VACATED and the Defendant will be re-sentenced and a new Judgment
23   entered.
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25   //
26   //
27   //
28
     ORDER GRANTING
     28 U.S.C. § 2255 PETITION-            1
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 1         IT IS SO ORDERED. The District Court Executive is directed to enter
 2   this order and to provide a copy to Defendant’s counsel.
 3         DATED this     19th     day of July, 2011.
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                                       s/Lonny R. Suko
 5                             _______________________________
                                        LONNY R. SUKO
 6                                  United States District Judge
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     ORDER GRANTING
     28 U.S.C. § 2255 PETITION-            2
